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From:           Layendecker, Elizabeth B (CIV)
To:             Reyes Chambers
Cc:             Jennifer Levi; Amy Whelan; CStoll@nclrights.org; mbonauto@glad.org; Michael Haley; sara@kmlawfirm.com;
                Sarah Austin; Shannon Minter; Joseph Wardenski; Lynch, Jason (CIV)
Subject:        RE: 25-cv-240, Supplemental Briefing
Date:           Monday, February 24, 2025 1:38:00 PM



Dear Judge Reyes Chambers:

We write regarding the scheduling order issued by the Court, which requires Defendants to file
a sur-reply by tomorrow February 25; a brief on the definition of sex relevant to the Defending
Women Executive Order by Friday, February 28; and a supplement brief on any new DoD policy
by 2 pm on Sunday March 2. See Minute Order (Feb. 19, 2025).

At last Wednesday’s hearing, Plaintiffs reiterated their desire to file an amended complaint to
add new plaintiffs and new claims. 2/18 Hr’g Tr. 220:22-24. Per the email below, the parties
had agreed for purposes of the preliminary injunction to exclude declarations from new
potential plaintiffs and supplemental declarations from existing plaintiffs that raised new
claims. The Court asked Plaintiffs to file that “as soon as possible,” id. at 221:3–4, and
Plaintiffs said they would file it by “tomorrow,” id. at 221:5, meaning last Wednesday, February
19. The Court later ordered Defendants to file a sur-reply by February 25. Consistent with the
Court’s direction, Defendants intended to address in their sur-reply any new claims in
Plaintiffs’ supplemental PI motion, which was supposed to accompany the amended
complaint. See 2/18 Hr’g Tr. 221:20–222:4.

As of this email, Plaintiff have neither filed an amended complaint nor filed any supplemental
motion. Accordingly, Defendants maintain that the only claim before the Court is that a
“categorical exclusion of transgender individuals from military service violates equal
protection.” Pls. PI Mem. 13; see also complaint, ¶¶ 133–139. (Defendants understand that
the Court intends to consider the entire Executive Order when assessing the question of
animus.) Plaintiffs have not alleged, and do not presently seek a preliminary injunction on the
basis of, any claim(s) regarding pronoun usage, sex-segregated berthing/bathing/changing
facilities, or gender-affirming medical care. See generally Pls. PI Mem. at 13–26 (alleging only
that a categorical ban is unconstitutional).

Defendants should not have to rebut claims that have not yet been made. If and when
Plaintiffs amend their complaint or supplement their PI motion, Defendants would respectfully
request that they be given one week from the date of any supplemental motion and amended
complaint.

Very respectfully,

Elizabeth Brooke Layendecker
Trial Attorney
U.S. Department of Justice
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